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 6 Attorneys for Plaintiffs
   Shandong Yunxiang Century Intelligent Technology Co., Ltd.
 7 Shandong Jiuhui Information Technology Co., Ltd.

 8

 9
                         UNITED STATES DISTRICT COURT
10                    NORTHERN DISTRICT OF CALIFORNIA

11
   Shandong Yunxiang Century Intelligent      PLAINTIFFS’ FIRST AMENDED
12 Technology Co., Ltd. and Shandong          COMPLAINT FOR DECLARATORY
   Jiuhui Information Technology Co.,
   Ltd.,                                      JUDGMENT AND OTHER RELIEF
13              Plaintiffs,
                                              DEMAND FOR JURY TRIAL
14               v.

15 Yannan Huang,

16               Defendant.

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     STIPUSTIP




     PLAINTIFFS’ FIRST AMENDED                               SHM LAW FIRM
     COMPLAINT FOR                                 3000 El Camino Real, Building 4, Suite 200
     DECLARATORY JUDGMENT               -1-                  Palo Alto, CA 94306
     AND OTHER RELIEF                                          (650) 613-9737
 1                Plaintiffs Shandong Yunxiang Century Intelligent Technology Co., Ltd.

 2 (a.k.a. shandongyunxiangshijizhinengkejiyouxiangongsi, herein after “Yunxiang”)

 3 and            Shandong     Jiuhui    Information     Technology         Co.,       Ltd.      (a.k.a.

 4 shandongjiuhuixinxikejiyouxiangongsi,               herein after “Jiuhui”) (collectively,

 5 “ Plaintiffs ” ) file this Complaint for Declaratory Judgment of Noninfringement

 6 against Defendant Yannan Huang ( “ Defendant ” ). In support of their complaint,

 7 Plaintiffs allege as follows:

 8                                  NATURE OF THE ACTION

 9               1.    This action arises under the Declaratory Judgment Act, 28 U.S.C. §

10 2201 et seq., and the United States Patent Act, 35 U.S.C. § 1 et seq.

11               2.    Plaintiffs seek declaratory judgments that U.S. Patent No. D962,680S

12 (the “D'680 Patent”) is not infringed by Plaintiffs’ seat cushion products, including

13 but not limited to all products among Plaintiffs’ seat cushion offerings (collectively

14 referred to as the “Non-Infringing Seat Cushions”). A true and correct copy of the

15 D'680 Patent is attached hereto as Exhibit 1.

16               3.    Plaintiffs bring this action in view of the actual controversy created by

17 Defendant under the D'680 Patent. Defendant has asserted a patent infringement

18 claim against the Non-Infringing Seat Cushions with Amazon, causing Amazon to

19 remove Plaintiffs’ listings for the Non-Infringing Seat Cushions on Amazon.com.

20                                             PARTIES

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     PLAINTIFFS’ FIRST AMENDED                                          SHM LAW FIRM
     COMPLAINT FOR                                            3000 El Camino Real, Building 4, Suite 200
     DECLARATORY JUDGMENT                        -2-                    Palo Alto, CA 94306
     AND OTHER RELIEF                                                     (650) 613-9737
 1               4.   Plaintiff Shandong Yunxiang Century Intelligent Technology Co., Ltd.

 2 (“Yunxiang”) is a Chinese corporation with its principal place of business at

 3 Building 12, Room 3-1204, Huaxia Diyuan, No. 1899 Weizishan Road, Licheng

 4 District, Jinan City, Shandong Province, China.

 5               5.   Plaintiff Shandong Jiuhui Information Technology Co., Ltd. is a

 6 Chinese corporation with its principal place of business at Room 1232, 12th Floor,

 7 Building 11, Longhu Aodong, High-Tech Zone, Jinan City, Shandong Province,

 8 China.

 9               6.   Upon information and belief, Yannan Huang is an individual residing

10 in China, with an address at No. 40, North Yongan Avenue, Jiutian Neighborhood

11 Committee, Zijin County, Guangdong, China.

12                               JURISDICTION AND VENUE

13               7.   This Court has subject matter jurisdiction under 28 U.S.C. § § 2201,

14 2202, 1331, and 1338(a) because this action arises under the laws of the United

15 States, including the Patent Act, 35 U.S.C. § 100 et seq.

16               8.   An actual case or controversy exists between the parties. Defendant

17 filed a patent infringement complaint with Amazon, which resulted in the removal

18 of Plaintiffs ’ Non-Infringing Seat Cushions from Amazon and caused significant

19 financial loss. Defendant’s actions thereby give rise to an actual controversy under

20 28 U.S.C. §§ 2201 et seq.
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 1               9.     This Court has specific personal jurisdiction over Defendant. Defendant

 2 purposefully directed enforcement activities toward California by submitting

 3 intellectual property infringement complaints to Amazon, targeting Plaintiffs ’

 4 products and causing their removal from the platform. Defendant is an experienced

 5 Amazon seller and knew that filing such complaints would foreseeably cause

 6 commercial harm in this forum, where Plaintiffs ’ products are sold and where

 7 Plaintiffs suffered lost sales and market access. Defendant ’ s actions were not

 8 random or attenuated but were intentionally directed at excluding competitors such

 9 as Plaintiffs from the U.S. market, including this District. Under Federal Circuit

10 precedent, these allegations are sufficient to establish specific personal jurisdiction.

11                10.     In the alternative, if Defendant contends that it is not subject to

12 personal jurisdiction in any individual state and fails to identify an alternative forum

13 where suit could be brought, then jurisdiction is proper under Rule 4(k)(2).

14 Defendant purposefully directed its enforcement conduct at the United States as a

15 whole, and the claims arise from that nationwide conduct. Exercising jurisdiction in

16 this District is consistent with the Constitution and laws of the United States.

17                11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

18 and/or 1391(c)(3). A substantial part of the events giving rise to the claims occurred

19 in this District, including the removal of Plaintiffs’ product listings and the resulting

20 lost sales and reputational harm. Plaintiffs market and sell products in this District
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     PLAINTIFFS’ FIRST AMENDED                                          SHM LAW FIRM
     COMPLAINT FOR                                            3000 El Camino Real, Building 4, Suite 200
     DECLARATORY JUDGMENT                         -4-                   Palo Alto, CA 94306
     AND OTHER RELIEF                                                     (650) 613-9737
 1 and suffered injury here as a direct result of Defendant’s conduct.

 2                                FACTUAL BACKGROUND

 3 A.            The Non-Infringing Seat Cushions

 4               12.   Plaintiffs conduct business through storefronts on Amazon.com under

 5 the names “Hvllyan US” and “KYSMOTIC-US,” respectively offering a variety of

 6 seat cushions for sale.

 7               13.   Plaintiff Shandong Yunxiang Century Intelligent Technology Co.,

 8 Ltd. operates the Amazon storefront Hvllyan US, which sells seat cushions

 9 identified by Amazon Standard Identification Numbers (ASINs), including but not

10 limited to B0BGKQC3JH.

11               14.   Plaintiff Shandong Jiuhui Information Technology Co., Ltd. operates

12 the Amazon storefront KYSMOTIC-US, which sells seat cushions identified by

13 Amazon Standard Identification Numbers (ASINs), including but not limited to

14 B08YRRNCCK and B08YRVZ8Z1.

15               15.   The first available date on Amazon for the Non-Infringing Seat

16 Cushions sold under ASINs B08YRRNCCK and B08YRVZ8Z1 is March 12, 2021,

17 which is at least three months prior to the priority date of the D’680 Patent, June 21,

18 2021.

19               16.   The Non-Infringing Seat Cushions sold under ASINs B0BGKQC3JH,

20 B08YRRNCCK, and B08YRVZ8Z1 are physically identical.
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 1               17.   On or about January 29, 2025, Plaintiff Yunxiang received

 2 notifications from Amazon stating that the listing for ASIN B0BGKQC3JH was

 3 removed due to alleged infringement of the D'680 Patent.

 4               18.   As of the date of filing the original Complaint [ECF 1], ASIN

 5 B0BGKQC3JH remains unavailable on Amazon ’ s platform due to Defendant ’ s

 6 infringement complaint.

 7               19.   The Amazon marketplace constitutes Plaintiffs' primary sales channel

 8 into the United States. To remain competitive in the United States market for seat

 9 cushions, Plaintiffs need the Non-Infringing Seat Cushions listed in the Amazon

10 marketplace. Amazon has removed the Non-Infringing Seat Cushion from the

11 marketplace, preventing Plaintiffs from accessing their largest channel of trade

12 because of Defendant’s alleged infringement complaint to Amazon. Thus,

13 Defendant's submission of an Amazon infringement complaint has caused

14 immediate and irreparable harm to Plaintiffs.

15               20.   Upon information and belief, Defendant sells similar gel seat cushion

16 products and actively monitors competing listings within the same category. Given

17 the popularity and visibility of products such as Plaintiffs’ Non-Infringing Seat

18 Cushions, Defendant had actual knowledge of competing designs that were widely

19 available in the U.S. market prior to the D’680 Patent’s priority date of June 21,

20 2021.
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 1               21.   Upon information and belief, Defendant did not purchase or

 2 otherwise obtain Plaintiffs ’ Non-Infringing Seat Cushions before submitting the

 3 infringement complaints to Amazon. Defendant made such complaints without

 4 conducting any reasonable investigation or comparing the Non-Infringing Seat

 5 Cushions with the D’680 Patent, thereby further demonstrating the baseless and bad-

 6 faith nature of the enforcement.

 7 B.            U.S. Patent NO. D962,680

 8               22.   The D'680 Patent, entitled “GEL SEAT CUSHION,” was filed with

 9 the USPTO on June 21, 2021, and claims priority to the same date. See Exhibit 1.

10 The D'680 Patent issued on September 6, 2022, and claims “[t]he ornamental design

11 for a gel seat cushion, as shown and described.” The perspective view of the D'680

12 Patent is shown as below:

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                 23.    The D'680 Patent lists Yannan Huang as the applicant and Inventor.
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     See Exhibit 1.
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                                            COUNT I
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     PLAINTIFFS’ FIRST AMENDED                                      SHM LAW FIRM
     COMPLAINT FOR                                        3000 El Camino Real, Building 4, Suite 200
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     AND OTHER RELIEF                                                 (650) 613-9737
 1               Declaratory Judgment of Non-Infringement of U.S. Patent No. D962,680S

 2                 24.    Plaintiffs repeat and reallege each of the preceding paragraphs as if

 3 they were restated here and incorporate them by reference.

 4                 25.    Plaintiffs’ Non-Infringing Seat Cushions do not infringe the D'680

 5 Patent because an ordinary observer, familiar with the prior art designs, would not

 6 be deceived into believing that the Non-Infringing Seat Cushions are the same as the

 7 design claimed in the D'680 Patent, as the following chart illustrates:

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 9                       USD962680S1                     Plaintiffs’ Non-Infringing Seat
                                                                     Cushions
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                     Fig 1 Perspective View
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     COMPLAINT FOR                                            3000 El Camino Real, Building 4, Suite 200
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     AND OTHER RELIEF                                                     (650) 613-9737
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 7               Fig 2 Front View

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                 Fig 3 Back View
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     PLAINTIFFS’ FIRST AMENDED                      SHM LAW FIRM
     COMPLAINT FOR                        3000 El Camino Real, Building 4, Suite 200
     DECLARATORY JUDGMENT           -9-             Palo Alto, CA 94306
     AND OTHER RELIEF                                 (650) 613-9737
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                 Fig 4 Left Side View
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18               Fig 5 Right Side View
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     PLAINTIFFS’ FIRST AMENDED                              SHM LAW FIRM
     COMPLAINT FOR                                3000 El Camino Real, Building 4, Suite 200
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     AND OTHER RELIEF                                         (650) 613-9737
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 4                        Fig 6 Top View

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                        Fig 7 Bottom View
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17               Fig 8 enlarged view of the selected
                          portion in FIG. 1
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     AND OTHER RELIEF                                                       (650) 613-9737
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                 Fig 9 an enlarged view of the selected
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                             portion in FIG. 2.
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 9                    26.       Specifically,     Plaintiffs’    Non-Infringing      Seat      Cushions        are

10 substantially different from the D'680 Patent in at least the following respects, by

11 way of example only and without limitation:

12                           The edges of the claimed design in the D'680 Patent and the Non-

13                          Infringing Seat Cushions consist of completely different irregular

14                          structures.

15                           In the claimed design, the edges are symmetrical, with the honeycomb

16                          structure aligned in a continuous and uniform pattern. In contrast, the

17                          Non-Infringing Seat Cushions exhibit distinct asymmetry, with the

18                          honeycomb structure offset from each other, creating a staggered, stepped

19                          appearance.

20                           The claimed design shows a left-side view with square ends, whereas
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 1                     the Non-Infringing Seat Cushions' left-side view features rounded and

 2                     convex ends. This distinction in the curvature of the ends creates a clear

 3                     difference in the overall shape between the claimed design and the Non-

 4                     Infringing Seat Cushions.

 5               27.        For at least these reasons, Non-Infringing Seat Cushions do not

 6 infringe the D'680 Patent.

 7               28.      An actual and justiciable case or controversy therefore exists between

 8 Plaintiffs and Defendant regarding whether the Non-Infringing Seat Cushions have

 9 infringed the claims of the D'680 Patent. Declaratory relief is thus appropriate and

10 necessary to establish that the making, using, importation, sale, or offer of sale of

11 the Non-Infringing Seat Cushions does not infringe, directly or indirectly, literally

12 or under the doctrine of equivalents, any valid and enforceable claim of the D'680

13 Patent. Plaintiffs are entitled to a judgment declaring that they have not infringed

14 and will not infringe any claim of the D'680 Patent.

15                                                 COUNT II

16                Declaratory Judgment of Invalidity of U.S. Patent No. D962,680S

17               29.       Plaintiffs repeat and reallege each of the preceding paragraphs as if

18 they were restated here and incorporate them by reference.

19               30.       An actual case or controversy exists between Plaintiffs and Defendant

20 as to whether the D'680 Patent is invalid.
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 1               31.    A judicial declaration is necessary and appropriate so that Plaintiffs

 2 may ascertain their rights as to whether the D'680 Patent is invalid.

 3               32.    The D’680 Patent is invalid as anticipated by prior art. The prior art

 4 references that render the D’680 Patent anticipated include, by way of example only

 5 and without limitation, seat cushion products publicly available before the priority

 6 date            of    the    D’680      Patent:       (i)   OMCOZY              (accessible          at

 7 https://www.amazon.com/dp/B08XX3W5KR?th=1, last visited Feb. 7, 2025); (ii)

 8 ADUKEN (accessible at https://www.amazon.com/dp/B07TMF3J8R?th=1, last

 9 visited Feb. 7, 2025); (iii) KYSMOTIC (Non-Infringing Seat Cushions) (accessible

10 at https://www.amazon.com/dp/B08YRRNCCK?th=1, last visited Feb. 7, 2025).

11               33.    One such prior art reference, the ADUKEN Gel Seat Cushion,

12 identified by Amazon using ASIN B07TMF3J8R, has been available on Amazon

13 since at least June 26, 2019 — more than two years before the filing date of the

14 D’680 Patent.

15               34.    The below chart compares exemplary images of those prior art seat
16 cushions to the claimed design of the D’680 Patent:

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                 USD962680S1                 OMCOZY                           ADUKEN
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     AND OTHER RELIEF                                                      (650) 613-9737
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                 Fig 1 Perspective View
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                   Fig 2 Front View
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                    Fig 3 Back View
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     PLAINTIFFS’ FIRST AMENDED                               SHM LAW FIRM
     COMPLAINT FOR                                 3000 El Camino Real, Building 4, Suite 200
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     AND OTHER RELIEF                                          (650) 613-9737
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                 Fig 4 Left Side View
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14               Fig 5 Right Side View

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17                  Fig 6 Top View

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                  Fig 7 Bottom View
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     PLAINTIFFS’ FIRST AMENDED                              SHM LAW FIRM
     COMPLAINT FOR                                3000 El Camino Real, Building 4, Suite 200
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     AND OTHER RELIEF                                         (650) 613-9737
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 5 Fig 8 enlarged view of the
   selected portion in FIG. 1
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                 Fig 9 an enlarged view of
11                the selected portion in
                          FIG. 2.
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13                    35.     These prior art references, especially the ADUKEN, are substantially
14 identical to the D'680 Patent.

15                    36.     Therefore, the D'680 Patent is invalid for failure to meet the
16 conditions of patentability and/or otherwise comply with one or more of 35 U.S.C.

17 §§ 100 et seq., 101, 102, 103, and 112.

18                                                 COUNT III
19                  Declaratory Judgment of Unenforceability of U.S. Patent No. D962,680
                      37.     Plaintiffs repeat and reallege each of the preceding paragraphs as if
20
     they were restated here and incorporate them by reference.
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     COMPLAINT FOR                                                3000 El Camino Real, Building 4, Suite 200
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 1               38.   As demonstrated above, the claimed design of the D'680 Patent is

 2 disclosed by several prior art references, including products that were publicly

 3 available for sale on Amazon before the filing date of the D'680 Patent.

 4               39.   Specifically, the OMCOZY Gel Seat Cushion (ASIN B08XX3W5KR)

 5 has been available on Amazon since at least March 3, 2021, approximately three

 6 months before the filing date of the D'680 Patent.

 7               40.   The ADUKEN Gel Seat Cushion (ASIN B07TMF3J8R) has been

 8 available on Amazon since at least June 26, 2019, more than two years before the

 9 filing date of the D'680 Patent.

10               41.   The Non-Infringing Seat Cushions (B08YRRNCCK) has been

11 available on Amazon since at least March 12, 2021, approximately three months

12 before the filing date of the D'680 Patent.

13               42.   Defendant, as a competing seller in the same marketplace, was aware

14 of these prior art. Nevertheless, Defendant knowingly withheld material information

15 and prior art during the prosecution of the patent application.

16               43.   Had Defendant disclosed this information to the USPTO, the D'680

17 Patent would not have been granted. Defendant’s failure to disclose them—despite

18 their clear materiality—constitutes inequitable conduct, as defined in Therasense,

19 Inc. v. Becton, Dickinson & Co., 649 F.3d 1276 (Fed. Cir. 2011). Therefore, the

20 D'680 Patent is unenforceable due to Defendant’s inequitable conduct in failing to
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     AND OTHER RELIEF                                                 (650) 613-9737
 1 disclose material prior art during prosecution.

 2               44.    Plaintiffs therefore seek and are entitled to a judgment that U.S.

 3 Patent No. D962,680 is unenforceable.

 4                                            COUNT IV
                  State Law Unfair Competition – Cal. Bus. & Prof. Code § 17200
 5
                 45.    Plaintiffs repeat and reallege each of the preceding paragraphs as if
 6
     fully set forth herein and incorporate them by reference.
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                 46.    Defendant’s acts, as set forth above, constitute unlawful, unfair,
 8
     and/or fraudulent business practices within the meaning of California Business and
 9
     Professions Code § 17200, et seq.
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                 47.    Defendant has acted unlawfully and unfairly by submitting
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     intellectual property infringement complaints to Amazon despite knowing that
12
     Plaintiffs’ Non-Infringing Seat Cushions constitute prior art.
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                 48.    Defendant has acted unlawfully and unfairly by submitting
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     intellectual property infringement complaints to Amazon despite knowing that the
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     D’680 Patent was obtained through inequitable conduct and is therefore
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     unenforceable.
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                 49.    Defendant’s complaint asserted that Plaintiffs’ products were
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     “identical”       to   the   patented   design,      despite     obvious       differences.       These
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     misrepresentations violated Amazon’s enforcement policies and were intended to
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     suppress competition from a direct marketplace rival. Such conduct constitutes
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     PLAINTIFFS’ FIRST AMENDED                                                SHM LAW FIRM
     COMPLAINT FOR                                                  3000 El Camino Real, Building 4, Suite 200
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 1 unfair competition under California law because it involved false or misleading

 2 assertions made to a third party with the intent to disrupt a competitor’s business and

 3 mislead a platform administrator.

 4               50.   By abusing Amazon’s intellectual property enforcement procedures,

 5 Defendant caused significant disruption to Plaintiff Yunxiang’s business operations,

 6 including the removal of Non-Infringing Seat Cushions that do not infringe any

 7 valid intellectual property rights.

 8               51.   As a direct and proximate result of Defendant’s unfair competition,

 9 Plaintiff Yunxiang has suffered, and continues to suffer, material harm in an amount

10 to be proven at trial, including loss of sales and damage to its competitive standing.

11 Furthermore, Plaintiff Yunxiang has suffered irreparable harm that cannot be fully

12 measured or compensated in monetary terms alone. Such harm will continue unless

13 Defendant’s wrongful actions are restrained and enjoined both during and after this

14 litigation.

15                                          COUNT V
                                       Tortious Interference
16
                 52.   Plaintiffs repeat and reallege each of the preceding paragraphs as if
17
     fully set forth herein and incorporate them by reference.
18
                 53.   Defendant knowingly and intentionally interfered with Plaintiff
19
     Yunxiang’s valid and existing business relationships with Amazon, and with its
20
     prospective economic advantage in the sale of its products, including the Non-
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     COMPLAINT FOR                                         3000 El Camino Real, Building 4, Suite 200
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     AND OTHER RELIEF                                                  (650) 613-9737
 1 Infringing Seat Cushions, through the Amazon platform. Defendant engaged in this

 2 interference for an improper purpose and by improper means, causing Amazon to

 3 remove the ASINs for the Non-Infringing Seat Cushions. This interference resulted

 4 in damages due to Plaintiff Yunxiang’s lost sales of the Non-Infringing Seat

 5 Cushions and related products.

 6               54.   As a direct and proximate result of Defendant’s tortious interference,

 7 Plaintiff Yunxiang has suffered damages, including significant losses in sales of the

 8 Non-Infringing Seat Cushions and other products, resulting in lost revenue and

 9 profits directly attributable to those lost sales.

10               55.   Defendant’s actions have significantly harmed Plaintiff Yunxiang’s

11 business operations by substantially reducing the rankings of Plaintiff Yunxiang’s

12 products on Amazon, which negatively impacts product visibility, reviews, and

13 ratings. This reduced visibility in consumer searches has directly diminished

14 Plaintiff Yunxiang’s market presence and sales performance.

15               56.   Defendant’s conduct — including the submission of objectively

16 baseless complaints and concealment of known prior art—was not protected patent

17
     enforcement, but rather constituted bad faith interference with competition.
18
                 57.   The decline in product rankings and visibility has caused substantial
19
     financial harm to Plaintiff Yunxiang, including lost sales and profits, as well as

20 increased warehousing and inventory holding costs due to reduced product turnover.
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     COMPLAINT FOR                                          3000 El Camino Real, Building 4, Suite 200
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     AND OTHER RELIEF                                                   (650) 613-9737
 1               58.     These damages extend beyond lost revenue, inflicting harm on

 2 Plaintiff Yunxiang’s goodwill and brand reputation, which are essential to

 3 maintaining competitive standing in the market. The exact amount of these damages

 4 will be proven at trial and cannot be fully measured or compensated in monetary

 5 terms alone.

 6                                     PRAYER FOR RELIEF

 7                WHEREFORE, Plaintiffs pray for the following relief:

 8                A. A judgment declaring that the manufacture, use, offer for sale, sale,

 9 and/or importation of the Non-Infringing Seat Cushions have not infringed and will

10 not infringe, directly or indirectly, literally or under the doctrine of equivalents, any

11 valid claim of the D'680 Patent;

12                B.   A judgment declaring that the claim of the D'680 Patent is invalid;

13                C.   A judgment declaring that the claim of the D'680 Patent is

14 unenforceable;

15                D.   A judgment declaring that Defendant interfered with Plaintiff

16 Yunxiang economic relationship with Amazon.com;

17                E.   A judgment declaring that Defendant unfairly competed with Plaintiff

18 Yunxiang;

19                F. A permanent injunction enjoining Defendant from asserting the D'680

20 Patent against Plaintiffs’ Non-Infringing Seat Cushions;
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     PLAINTIFFS’ FIRST AMENDED                                          SHM LAW FIRM
     COMPLAINT FOR                                            3000 El Camino Real, Building 4, Suite 200
     DECLARATORY JUDGMENT                        - 22 -                 Palo Alto, CA 94306
     AND OTHER RELIEF                                                     (650) 613-9737
 1               G. An order enjoining Defendant from further enforcement of the D'680

 2 Patent and requiring Defendant to retract its takedown request from Amazon;

 3               H.   An award of monetary damages sufficient to compensate Plaintiff

 4 Yunxiang for Defendant’s tortious conduct and unfair competition;

 5               I.   An award of punitive damages in an amount to be determined at trial;

 6               J.   An order awarding Plaintiffs’ costs and reasonable attorney’s fees as

 7 permitted by law; and

 8               K.    Such other and further relief as this Court may deem just and equitable.

 9                                 DEMAND FOR JURY TRIAL

10               Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial

11 by jury on all claims and issues so triable.

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13 DATED: June 17, 2025                      SHM LAW FIRM

14                                           By:      /s/ Qianwu Yang
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20
                                                   Technology Co., Ltd.
     STIPUSTIP




     PLAINTIFFS’ FIRST AMENDED                                         SHM LAW FIRM
     COMPLAINT FOR                                           3000 El Camino Real, Building 4, Suite 200
     DECLARATORY JUDGMENT                        - 23 -                Palo Alto, CA 94306
     AND OTHER RELIEF                                                    (650) 613-9737
 1                                Shandong Jiuhui Information Technology
                                  Co., Ltd.
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     PLAINTIFFS’ FIRST AMENDED                       SHM LAW FIRM
     COMPLAINT FOR                         3000 El Camino Real, Building 4, Suite 200
     DECLARATORY JUDGMENT        - 24 -              Palo Alto, CA 94306
     AND OTHER RELIEF                                  (650) 613-9737
